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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                   *       CRIMINAL NO. 20-cr-00055
                                           *           SECT. F. MAG.4
VERSUS                                     *
                                           *       JUDGE FELDMAN
JASON R. WILLIAMS            (01)          *
NICOLE E. BURDETT            (02)          *       MAGISTRATE JUDGE ROBY

                                          ORDER

       Having considered the United States of America’s motion for leave to file a reply to the

supplemental memorandum in support of renewed motion to dismiss,

       IT IS ORDERED that the motion is GRANTED and that the Government’s reply

memorandum be filed into the record.

       New Orleans, Louisiana this 3rd day of December, 2020.




                                                   ___________________________________
                                                   HONORABLE MARTIN L.C. FELDMAN
                                                   UNITED STATES DISTRICT JUDGE
